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            IN THE CIRCUIT COURT OF THE STATE OF OREGON

                    IN AND FOR THE COUNTY OF JACKSON

                        BEFORE THE HONORABLE DAVID ORR



       ARNAUD PARIS,

                        Petitioner,

            v.                                   No. 23DR08269

       HEIDI MARIE BROWN,                (

                        Respondent.



       HEIDI MARIE BROWN,

                        Petitioner,

            v.                                   No. 22DR17285

       ARNAUD PARIS,

                        Respondent.



                            EXCERPT OF PROCEEDINGS

                           August 3, 2023, Thursday

                              4:40 to 4:53 P.M.



       APPEARANCES:

       For Petitioner/Respondent Brown:               MR. TAYLOR MURDOCH

       For Respondent Paris:          MR. THOMAS BITTNER



       Transcribed by:        Eleanor G. Knapp, RPR-CSR




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 1        Excerpt of Proceedings, Thursday, August 3, 2023

 2                            4:40 to 4:53 P.M.

 3                                      ***

 4          A.      -- on a good.        Day French legalese, I

 5     don't even know where to begin.

 6     BY MR. MURDOCH:

 7          Q.     We'll go over this in a bit.           But you did

 8     receive the summons for that initial hearing in

 9     January.

10          A.      Yes.

11          Q.      And that was in French only.          Correct?

12          A.      It was in French only.

13          Q.      So the translation that was provided to

14     the Court was not something that you received.                It

15     was something that your attorneys obtained later.

16     Correct?

17          A.      Yes.

18          Q.      And you are a citizen of the State of

19     Oregon.

20          A.      I'm what?

21          Q.      You are a citizen of the State of Oregon.

22          A.      I am.

23          Q.      And you are protected by the constitution,

24     to the best of your knowledge, Ms. Brown, of the

25     State of Oregon as well, are you not?




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 1          A.      I guess.

 2          Q.     And you are aware that in this court, are

 3     you not, that you can request a copy of the formal

 4     proceeding that happens on the record and find out

 5     what happened in this court?

 6          A.     Yes.       I am well aware.

 7          Q.     Have you requested recordings in this

 8     court, for example, for things that have happened

 9     during the pendency of this matter?

10          A.     Yes.       Many.

11          Q.      Do you have that ability to do that in

12     France?

13          A.     No.      They -- they just have a bailiff

14     taking, like, shorthand, handwritten notes on maybe

15     one piece of paper.

16          Q.      And are you able to request those at some

17     point?

18          A.      Not personally.          You would have to have a

19     lawyer ask the judge to do her a personal favor in

20     order to get a copy of those notes.

21          Q.      And you provided -- we'll go over this --

22          A.      Yeah.

23          Q.            likely not today.         But at some point

24     you acquired a translated copy of those notes --

25          A.      I did.




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 1          Q.      -- from the March hearing.

 2          A.      Yeah, I did.

 3          Q.     Now, you are also aware, are you not, that

 4         actually, quite aware, likely, due to the

 5     proceedings today in this matter that you have a

 6     right under the Oregon constitution to be present in

 7     a proceeding in which custody of your children is

 8     adjudicated, are you not?

 9          A.      Yes.

10          Q.      And you are aware that Mr. Paris has a

11     right to be present in court at a proceeding to

12     adjudicate custody of his children as well?

13          A.      Yep.    Yes.

14          Q.     Were you present at that hearing in March

15     in any capacity?       Were you listening on the phone or

16     were you doing anything --

17          A.      They don't have any capacity for -- or any

18     option for a remote hearing.

19          Q.      How long did that hearing last?

20          A.     My understanding is it lasted all of 40

21     minutes to cover all of jurisdiction and custody

22     which -- mind-blowing.

23          Q.      And was there any opportunity for you to

24     present evidence, such as testimony from witnesses

25     or testimony from family members who are here




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 1    present in the courtroom?

 2         A.      No.

 3         Q.      Mr. Paris is -- was born in France.

 4    Correct?

 5         A.      Correct.

 6         Q.      He's a native French speaker.             Correct?

 7         A.      Correct.

 8         Q.      Would it be fair to say that he would have

 9    more knowledge than you about the court processes in

10    France when it comes to -- when it ame to this

11    hearing?

12         A.      Absolutely.

13         Q.      Do you feel like you were at a

14    disadvantage?

15         A.      Absolutely.

16         Q.      Why?

17         A.      Because I have absolutely no basis for

18    understanding their legal system.               I was completely

19    reliant on what my lawyer was telling me.

20         Q.      Now, the ruling that the French Court made

21    eventually -- I want to get to the substance of it.

22    But you presented arguments only on jurisdiction at

23    that hearing.        Correct?
24         A.      Yes.

25         Q.      To the best of your knowledge?




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 1            A.    Yes.    Uh-huh.

 2            Q.    Just to be a devil's advocate, why

 3     wouldn't you just make sure that the submission that

 4     you provided to the Court in March of 2023 also

 5     included what you wanted for a parenting plan and

 6     what you thought was in the best interests of the

 7     children?

 8            A.    Because my understanding was that for

 9     custody you needed to be physically present to make

10     oral argument on custody.           Like, it's a very

11     important thing that you're physically there to --

12     yeah -- to -- to discuss the custody issue.

13            Q.    Now, there are proceedings that are

14     scheduled in France right now.            Correct?

15            A.    Yes.

16            Q.    Mr. Paris has asked for a five-year no-fly

17     rule to stop the children from leaving -- leaving

18     France at all on any airplane.

19            A.    Yes.
20            Q.    And there's a hearing that's set in that

21     matter in August of this month -- or August 24th,

22     later this month.

23            A.    That's correct.
24            Q.    And you are going to that hearing, aren't
25     you?




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 1         A.      I sure am.       I've got my tickets.          I've got

 2    my hotel.     My mom's coming with me.           Yep.

 3         Q.      And you have a different lawyer now in

 4    France

 5         A.      I do.

 6         Q.      Ms. Brassens.        Correct?

 7         A.      That's correct.

 8         Q.      And you are aware, are you not, that that

 9    hearing could have significant impacts on your

10    children and their future?

11         A.      Yes.     Yes.

12         Q.      Ms. Brown, the hearing in March was much

13    more significant in many ways than this hearing

14    that's coming up in August, was it not?

15         A.      Yes.

16         Q.      Did the Court ever call you and say,

17     "Ms. Brown, we need to hear from you.                Where are

18    you"?

19         A.      No.     I had no way of getting that
20     information.       It's not listed online.

21         Q.      Did the Court ever call you like this

22    Court called Mr. -- Mr. Paris for this proceeding?

23         A.      No.

24         Q.      Did the Court ever give you an opportunity
25    to make any sort of statement at that proceeding?




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 1         A.      No.

 2         Q.      Did the Court ever give you any

 3    opportunity to express what you thought were in the

 4    best interests of your children at this hearing in

 5    March of 2023 in Paris, France?

 6         A.      No.     No.    I never had a chance.        And they

 7    never asked me, and they never notified me.

 8         Q.      Did they ever stop the proceedings because

 9    you weren't there, to the best of your knowledge?

10         A.      No.

11         Q.      Did they -- did they ever offer to -- was

12    there ever any effort that you're aware of to

13    consider testimony from witnesses such as the folks

14    from France who testified on behalf of Mr. Paris?

15         A.      No.     Nothing.

16         Q.      To the best of your knowledge, Ms. Brown,

17    if you had asked to have these people appear

18    remotely or provide testimony at this 40-minute

19    hearing in which custody and parenting time of your

20    children was adjudicated in addition to

21     jurisdiction, would you have been able to present

22    any of that evidence?

23         A.      Over there?        No.       They don't do remote.
24                 Is that -- I'm not sure I understood the

25    question.




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  1         Q.      It was a bit of a compound question.               I'm

 2     sorry.    But, Ms. Brown, they don't do remote over

  3    there.    Is that a fair understanding?

  4         A.      They don't do any remote or any recordings

  5    of any of the proceedings.

  6         Q.      So are they -- to the best of your

  7    knowledge, is a French court able to gather the sort

  8    of information that the Oregon court has gathered in

  9    this proceeding?

 10         A.      No.     Not to my knowledge.         Again, I don't

 11     really know what their system is like.               But, yeah, I

 12     don't think there's any way to do it.

 13         Q.      Now I want to talk a little bit about that

 14    French judgment.         And there's some important

 15    proceeding -- information in it.               And I think you

 16     have in front of you Exhibit 3.               I think if we can

 17     turn there that it includes a translated copy of the

 18    French (unintelligible).

 19                        THE COURT:      What was that again,

 20    Mr. Murdoch?

 21                        MR. MURDOCH:      Thank you, Your Honor.

 22     I believe it's Exhibit 3, and it's the subject --

 23     second motion to dismiss for lack of subject matter

 24     jurisdiction which was dismissed on today's date.

 25     But it includes a copy of the French judgment that I




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 1    want to inquire of the witness.

 2         A.      Oh, Lord.

 3     BY MR. MURDOCH:

 4         Q.      There's a certified translation --

 5         A.      Sorry.      I'm having a technical issue here.

 6     I found Exhibit 3.

 7         Q.      Okay.     Let's close it up because we only

 8     have about ten more minutes.

 9         A.      You got it.

10         Q.      So this is Exhibit 3, and then there's an

11     attachment in the back which is -- I think it's --

12     it's about 100 pages in.

13         A.      Okay.

14         Q.      And it's -- the first page of it is

15     judgment entered on April 21, 2023.

16         A.      It's on page 100?

17         Q.      Yeah, about 100 pages in.

18         A.      Okay.

19         Q.      So we'll take a look at the French

20     translation now.

21         A.      Yes.

22         Q.      Rather the initial (unintelligible).               And

23     this is the English translation?
24         A.      Yeah.

25                        MR. MURDOCH:          Does the Court have a




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 1     copy of the French judgment in front of it?

 2                         THE COURT:      I do.

 3     BY MR. MURDOCH:

 4          Q.      So this is a translated version -- a

 5     certified translation, that you're aware of, of the

 6     French judgment.         Correct?

 7          A.      That is correct.

 8          Q.      Now let's look at this judgment.           There's

 9     a statement in the case that was made by the judge

10     -- I believe the Court's name is Judge Karina

11     Brahimi (phonetic) is the Court -- the judge in

12     France.

13                  And I note that on the first place it

14     indicates you and your address on page 1 -- sorry.

15     I'm going to go back and slow down a little bit,

16     Ms. Brown.

17          A.      Yes.     That's correct.

18          Q.      And there's -- it indicates you were

19     there, but it indicated that you did not appear at

20     that proceeding?

21          A.      That's correct.         I think.

22          Q.      And I'm looking under the defendant.            You

23     notice that --

24          A.      Okay.     Yes.

25          Q.      -- it indicated that Mr. Paris appeared?




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 1          A.      Uh-huh.

 2          Q.      And there's no indication that you didn't

 3         that you appeared.

 4          A.      Yeah.     That's correct.

 5          Q.      And on page 2 there's a statement of the

 6     case.

 7          A.      Yes.

 8          Q.      And it looks like -- I'm looking down

 9     beginning March -- at the hearing on March 31, which

10     is about 6 pages down -- or 6 paragraphs down the

11     page.     Excuse me.

12          A.      Yep.

13          Q.      Mr. Paris was present and assisted by his

14     counsel, Ms. Brown was absent but was represented by

15     her counsel, and that your counsel made a request

16     for an adjournment that was rejected as unjustified.

17          A.      That is correct.

18          Q.      And I notice that in his written

19     submissions Mr. Paris requests a long list of things

20     starting with the joint exercise of parental

21     authority.

22          A.      Yes.

23          Q.      And the first things that you requested

24     down below were to declare the Court of Appeals does

25     not have jurisdiction?




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 1         A.       That is correct.

 2         Q.       And it indicates that you asked for this

 3     case in France not have jurisdiction but the Circuit

 4     Court of the State of Oregon.

 5         A.       That is correct.

 6          Q.      So is it your understanding that at this

 7     time the Court in France knew about this proceeding

 8     in Oregon?

 9          A.      Oh, yes.

10          Q.      Are you aware of any time at which the

11     Court in France reached out to Judge Orr to speak to

12     Judge Orr about this proceeding?

13         A.       No.

14          Q.      To the best of your knowledge, did that

15     not occur?

16          A.      To the best of my knowledge, that never

17     occurred.

18          Q.      And it looks like -- the written

19     submissions, these are the priorities that you noted

20     in limine (unintelligible)?

21          A.      Uh-huh.

22          Q.      Then on page 2 there's on the merits, to

23     establish the residence of the children in the

24     maternal home in the states; failing that to

25     maintain the alternating residence in the United




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 1     States and to order the sharing of the children's

 2     expenses.

 3           A.     Uh-huh.

 4           Q.     I don't see anywhere you asked the joint

 5     exercise of parental authority or anything along

 6     those terms.

 7                        THE COURT:      I didn't understand that

 8     (unintelligible).

 9                        THE WITNESS:          Right here.

10                        THE COURT:      You don't see where she

11     asked for --

12                        THE WITNESS:          Oh, this is --

13                        MR. MURDOCH:          Yes.     Sorry, Your Honor.

14     I want to compare

15                        THE WITNESS:          Oh, this is Mr. Paris's

16     versus mine.

17                        MR. MURDOCH:          Yeah.    Mr. Paris had a

18     long list of things that he asked for in his

19                        THE COURT:      I'm following you now.           I

20     see    where you are going.

21                        MR. MURDOCH:          Sorry.     I jumped ahead,

22     Judge.

23     BY MR. MURDOCH:

24           Q.    You were asking for much less on the
25     merits rather than what he was asking for.




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 1         A.      Right.     I didn't make any request for

 2    parental authority because we didn't know it was

 3    going to happen or be even talked about.

 4                       (Conclusion of excerpt.)

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 1     State of Oregon
 2                                    ss.
 3     County of Lane
 4

 5          I, Eleanor Knapp, a Certified Shorthand Reporter
 6     for the State of Oregon, do hereby certify that the
 7     foregoing pages 1 to 15 comprise a complete, true,
 8     and accurate transcription, to the best of my
 9     ability, of the requested excerpt of the audio
10     recording provided of the proceedings held in the
11     cause previously captioned and held on August 3,
12     2023.

13
14

15
16     Dated at Eugene, Oregon, this 18th day of August,
17     2023.
18
19
20
21


22     Eleanor Knapp, CSR-RPR
23     CSR No.    93-0262
24     Expires:     September 30, 2023
25




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